                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

THE DRAGONWOOD CONSERVANCY, INC.,
PLEGUAR CORPORATION,
TERRY CULLEN,

               Plaintiffs,

v.                                                                 Case No. 16-CV-00534

PAUL FELICIAN,
PHIL SIMMERT II,
JANE AND JOHN DOE(S)
CITY OF MILWAUKEE, and
ABC INSURANCE COMPANY,

            Defendants.
______________________________________________________________________________

        DECLARATION OF HEATHER HOUGH IN SUPPORT OF MOTION TO
           PRECLUDE PLAINTIFFS’ EXPERT MITCHEL KALMANSON


       I, Heather Hough, being first duly sworn, swear and state as follows:

       1.      I am an attorney, licensed to practice law in the State of Wisconsin, employed as

an Assistant City Attorney for the City of Milwaukee.

       2.      I have been assigned to represent the interests of the City of Milwaukee, Paul

Felician and Phil Simmertt, II in the above-captioned case.

       3.      Attached and incorporated as Exhibit 1 is a true and correct copy of Defendants’

First Set of Interrogatories and Request for Production of Documents dated January 8, 2020.

       4.      Attached and incorporated as Exhibit 2 is a true and correct copy of Plaintiffs’ e-

mailed Response to Defendants’ Interrogatories and Request for Production of Documents dated

April 28, 2020.

       5.      Attached and incorporated as Exhibit 3 is a true and correct copy of Defendants’

Second Set of Interrogatories and Request for Production of Documents with cover clarifying

our second request for documents dated May 21, 2020.
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         6.       Attached and incorporated as Exhibit 4 is a true and correct copy of e-mail

Plaintiffs received from Defendants’ counsel responsive to the request for documents dated May

29, 2020.

         7.       Attached and incorporated as Exhibit 5 is a true and correct copy of Mitchel

Kalmanson’s Deposition Transcript dated June 10, 2020.

         8.       Attached and incorporated as Exhibit 6 is a true and correct copy of Defendants

responsive e-mail with attachments including new source information and peer review letters

dated June 30, 2020. June 30, 2020 is the first time that defendants were made aware of the peer

review letters or the authors of the peer review letters.

         I declare under penalty of perjury that the foregoing eight (8) paragraphs are true and

correct.

         Dated and signed at Milwaukee, Wisconsin on July 13, 2020.

                                               TEARMAN SPENCER
                                               City Attorney


                                               s/Heather Hecimovich Hough
                                               HEATHER HECIMOVICH HOUGH
                                               Assistant City Attorney
                                               State Bar No.1092637
                                               JENNY YUAN
                                               State Bar No. 1060098
                                               Assistant City Attorney
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